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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

BUNN ENTERPRISES, INC., et al.,            :
                                           :
              Plaintiffs,                  :      Case No.:      2:13-cv-00357
                                           :
       v.                                  :
                                           :      JUDGE: ALGENON L. MARBLEY
OHIO OPERATING ENGINEERS                   :
FRINGE BENEFIT PROGRAMS                    :      Magistrate Judge: Terence P. Kemp
                                           :
              Defendant.                   :      PLAINTIFFS’ OPENING BRIEF
                                           :      FOR HEARING ON PRELIMINARY
                                           :      INJUNCTION

I.     INTRODUCTION

       Pursuant to Judge Marbley’s Temporary Restraining dated April 25, 2013 Plaintiffs,

Bunn Enterprises, Inc. (“Bunn”), Kevin W. Bunn (“K.W. Bunn”), Delbert G. Newlon

(“Newlon”), Daniel J. Lantz (“Lantz”), Mark A. Morgan (“Morgan”), Michael S. Schau

(“Schau”) and David E. Welch (“Welch”) hereby submit their Opening Brief for the May 2,

2013 Preliminary Injunction Hearing. Plaintiffs seek the following: (1) Enjoin Defendants from

seeking contributions (past and future) for all hours worked by each employee; (2) Order

Defendant to seek contributions (past and future) for only those hours in which employees

perform covered work under the CBA; (3) Enjoin Defendants from crediting contributions (past

and future) towards the alleged delinquent amount in dispute (4) Order Defendant to credit the

contributions (past and future) towards the employees for whom the contributions were made;

(5) Enjoin Defendant from withholding health insurance benefits to Lantz, Morgan, Schau and

Welch; and (6) Order Defendant to reimburse Plaintiffs Lantz, Morgan, Schau and Welch the

amount of money each was required to pay out of pocket to maintain the health insurance

benefits Defendant unlawfully withheld.
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II.       BACKGROUND

          Bunn is signatory to the Ohio Heavy Highway Agreement (“CBA”) effective May 1,

2010 through April 30, 2013 between Local 18 and the Labor Relations Division of the Ohio

Contractors Association. 1 Pursuant to the terms of the CBA, “[f]ringe benefit contributions shall

be paid…for all hours paid to each employee by the Employer under this Agreement” to the

Ohio Operating Engineers Fringe Benefit Program (the “Fund”). 2 The Fund is permitted to audit

the books and records of any Employer obligated to make these contributions.

          The Fund conducted an audit in late 2011 and subsequently informed Bunn it owed over

$50,000 in unpaid contributions. Bunn disputes the amount owed because the Fund is seeking

contributions for which it is not entitled, i.e., work not covered under the CBA. Nevertheless,

Bunn continues to remit its required contributions to the Fund for the employees who perform

covered work under the CBA. Even so, rather than credit the payments for which they were

intended, the Fund continues to credit the payments towards the amount set forth in the disputed

audit. In doing so, the Fund has discontinued the health insurance benefits of Plaintiffs Lantz,

Schau, Morgan and Welch even though they are otherwise eligible.

III.      LAW AND ARGUMENT

          A preliminary injunction is a remedy courts implement to preserve the status between the

parties until a trial on the merits can be carried out. See, White of Dublin v. After the Ring, 2013

U.S. Dist. LEXIS 49617, *3 (S.D. Ohio 2013).                  When determining whether to grant a

preliminary injunction, the court must balance the following factors: “(1) whether the movant

has shown a strong likelihood of success on the merits; (2) whether the movant will suffer

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  Bunn is also signatory to the Associated General Contractors (“AGC”) of Ohio Building Agreement between the
International Union of Operating Engineers Local 18 and its Branches, (AFL-CIO) and the Labor Relations of the
AGC of Ohio.
2
    See, Exhibit A attached to Verified Complaint.

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irreparable harm if the injunction is not issued; (3) whether the issuance of the injunction would

cause substantial harm to others; and (4) whether the public interest would be served by the

issuing the injunction.” Id. at *3-4. These factors are to be balanced against one another and are

not prerequisites which must be met. Id. at *4.

           The decision whether or not to issue a preliminary injunction falls within the sensible

discretion of the court. See, Wilkins v. Daniels, 2012 U.S. Dist. LEXIS 180321, *36 (S.D. Ohio

2012). For instance, if only three of the four factors weigh in favor of granting the preliminary

injunction, the court can grant the preliminary injunction.             See, MEMC Electronic v.

Balaksrishnan, 2012 U.S. Dist. LEXIS 12887, *14, fn. 1. Admittedly, a preliminary injunction

is an extraordinary remedy and is to be granted only if the movant carries their burden of proving

the circumstances clearly demand it. Id. at *14. Notwithstanding, “[d]ue to the limited purpose

of a preliminary injunction and given that the hearing is often in haste, ‘[a] party . . . is not

required to prove his case in full at a preliminary injunction hearing.’” Id. at *14, fn. 1, citing

Univ. of Texas v. Camenisch, 451 U.S. 390, 395, 101 S. Ct. 1830, 68 L. ED. 2d 175 (1981).

           A.       There Is A Substantial Likelihood of Success That Plaintiffs Will Prevail On
                    The Merits of Their Claim

           The Fund, as noted in its March 13, 2012 letter 3 to Bunn, has taken the position that Bunn

is obligated to pay fringe benefit contributions for all hours worked by each employee, not just

those hours performing covered work under the CBA. Conversely, Plaintiffs assert that the CBA

requires fringe benefit contributions for only the hours worked performing the type of work that

is covered under the CBA.               Paragraph 35 of the CBA states as follows:   “Fringe benefit

contributions shall be paid at the following rates for all hours paid to each employee by the




3
    See, Exhibit C attached to Plaintiffs’ Verified Complaint.

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Employer under this Agreement[.]” (Emphasis added) 4. Necessarily, an Employer will only

pay employees “under this Agreement” when the employees perform the type of work expressly

outlined in Article I of the CBA. 5

          Additionally, paragraph 3 set forth in Article II, Provisions and Limitations, of the CBA

also limits contributions to covered work. Paragraph 3 states:

          3.     All members of the Labor Relations Division of the Ohio Contractors
          Association, and any person, firm or corporation who as an Employer becomes
          signatory to this Agreement, shall be bound by all terms and conditions of this
          Agreement as well as any future amendments which may be negotiated by the
          Labor Relations Division of the Ohio Contractors Association and the Union, and
          furthermore, shall be bound to make Health and Welfare payments, Pension
          payments, Apprenticeship Fund and Safety and Educational Fund payments
          required under Article V for all work performed within the work jurisdiction
          outlined in Article I of this Agreement, or any other payment established by the
          appropriate Agreement.

Accordingly, Employers are not required to pay fringe benefit contributions for hours worked by

employees performing any type of work which is not covered under the agreement. The U.S.

Court of Appeals for the Sixth Circuit agrees.

          In Michigan Laborers’ Health Care Fund v. Grimaldi Concrete, Inc., 30 F.3d 692, 695-

696 (6th Cir. 1994) the Court concluded that when an Employer fails to maintain adequate

records that would allow the plan to determine the benefits due or which may become due to

such employees as is required by 29 U.S.C. § 1059, the burden shifts to the Employer to prove

what work was covered under the agreement and what work was not covered. Thus, under

Grimaldi, an Employer is potentially liable for contributions on all hours worked during a period

in which it is demonstrated some covered work is performed if, as a result of poor record keeping

it is impossible to determine the amount due. Id at 697. Nevertheless, Grimaldi does not stand

4
    See, Exhibit A attached to Plaintiffs’ Verified Complaint.
5
 Article I was previously quoted in Plaintiff’s April 16, 2013 Motion for Temporary Restraining Order. See also,
Exhibit A attached to Plaintiffs’ Verified Complaint.

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for the proposition that if an Employer fails to keep adequate records as reflected by 29 U.S.C. §

1059, the Employer is automatically liable for contributions on all hours worked. See, Trustees

for Michigan BAC Health Care Fund v. Spencer, 2008 U.S. Dist. LEXIS 117014, *8 (E.D. Mich.

2008). Consequently, “[e]vidence that falls short of the clarity and specificity required by §

1059, but nonetheless allows the number of covered hours to be discerned, satisfies the burden.”

Id.

       Bunn’s records were more than adequate to determine the amount owed to Newlon for

the covered work he performed as noted in the certified payroll reports and monthly contribution

reports remitted to the union. At the very least, Grimaldi provides an Employer the opportunity

to prove the amount of covered work performed by a given employee versus the amount of work

performed that is not covered.       Thus, the Fund’s proclamation in its March 19, 2012

correspondence to Bunn that Bunn is required to pay contributions for all hours worked by each

employee is not accurate and should not be the basis to withhold insurance benefits and monthly

pension benefits.

       The District Courts have both recognized and followed the burden shifting approach set

forth in Grimaldi. In Plumbers Local 98 Defined Benefit Pension Fund v. M & P Master

Plumbers of Michigan, Inc., 608 F.Supp.2d 873, 881 (E.D. Mich. 2009), Judge Rosen, citing

Grimaldi as “Sixth Circuit precedent,” recognized an Employer’s right to dispute the Fund’s

allegations of delinquent contributions by producing evidence that the work was not covered

under the CBA. Likewise, in Trustees for Michigan BAC Health Care Fund v. Spencer, supra,

the Court determined that evidence proffered by the Employer (daily planner, Employer affidavit

and Employer self-audit) was sufficient to satisfy its burden under Grimaldi and create a

question of fact regarding the amount of covered work for which contributions are owed.



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       In Trustees of the Northwestern Ohio Plumbers and Pipefitters Pension Plan v. Helm and

Associates, 2012 U.S. Dist. LEXIS 93446 (N.D. Ohio 2012), the pension plan sought to rely

upon Grimaldi and hold the Employer liable for the entire amount calculated in its audit because

the Employer had failed to maintain adequate records as required by 29 U.S.C. §1059. The

Court ultimately determined that even though the Employer’s daily reports were “sometimes

incomplete, vague, blank or otherwise inadequate to calculate liability with mathematical

exactness, they do provide enough information from which a reasonably certain calculation can

be made, and they do provide detailed information about the vast majority of Defendant’s total

work hours during the audit period.” Id. at 16. The Court further noted that even though the

Employer’s records allowed for a reasonably accurate calculation, the pension fund’s audit was

excessive and not fully credible. Id. Ultimately, the court conducted its own audit using the

documents submitted at trial and ordered the Employer to pay $52,735.63 in delinquent

contributions, interest and liquidated damages to the pension plan, an amount significantly lower

than the $399,305.13 figure noted in the pension plan’s audit. The court reasoned as follows:

       Case law suggests a mathematically precise number is not necessary so long as
       there is reasonable data from which the amount of damages can be ascertained
       with reasonable certainty. And unlike in Grimaldi, in this case it is not utterly
       impossible to determine with reasonable certainty the extent of Defendant's
       liability using the records Defendant kept.

       ******************************************************************

       In sum, because Plaintiff's Audit Report is mostly unreliable, the Court believes
       holding Defendant liable for the entire amount calculated by the Audit Report
       would be unjust and contrary to the backbone premise of Grimaldi -- that ERISA
       plans be enabled to collect what they are actually owed at the cost of sometimes
       collecting more when Defendant's failure to meet a statutory obligation deprives
       them of the ability to calculate their actual damages. Moreover, despite the flaws
       and incompleteness of the daily reports, Plaintiffs have not shown the kind of
       manifest failure to maintain adequate records that the court found in Grimaldi.
       But unlike cases where the amount of covered work could not be determined
       without reliance upon an audit, here the amount of covered work performed by

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        covered employees can be determined with reasonable certainty using the
        evidence admitted at trial. The Court has therefore undertaken its own calculation
        and determined an amount owed based on the daily reports, the testimony
        presented at trial, and the hourly contribution rates used in the Audit Report.

Id. at 18-20. (Internal quotations and citations omitted). 6 Bunn has provided more than enough

evidence such that there is reasonable data from which the amount of covered work performed

by Newlon can be ascertained with reasonable certainty. Newlon performed limited covered

work as expressly illustrated by the certified payroll reports and monthly contribution reports

remitted to the union. Nonetheless, the Fund’s audit is unreasonable and unreliable.

        B.       Plaintiffs Will Be Irreparably Harmed Absent a Temporary Restraining
                 Order

        Defendant is seeking contributions for all hours worked by Newlon.                        Accordingly,

Defendant asserts that Bunn owes delinquent contributions with respect to those hours. Bunn

has continued to remit monthly contributions for all of its employees who perform covered work.

Nonetheless, rather than credit the individuals for whom the contributions were made, the Fund

is applying these contribution payments towards the findings of the disputed audit. In doing so,

individual Plaintiffs have been denied medical benefits for which they are otherwise eligible to

receive. Similarly, Newlon is being denied monthly pension premiums even though Bunn has

submitted records enabling the Fund to determine the proper amount of covered work he has

performed and, therefore, determine his eligibility to receive monthly pension payments.

        Irreparable injury is an injury for which a monetary award is not adequate.                          See,

Overstreet v. Lexington-Fayette Urban County Gov’t., 305 F.3d 566, 578 (6th Cir. 2002). The


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  There are two opinions originating from this Court finding that an Employer must contribute for all hours worked
by an employee if he splits time between work covered under the CBA and work not covered under the CBA. See,
Noe v. R.D. Jones Excavating, Inc., 787 F. Supp. 759 (S.D. Ohio 1992) and Orrand, et al. v. Shope, 2002 U.S. Dist.
LEXIS 28766 (S.D. Ohio 2002). Notably, Noe was decided two (2) years prior to Grimaldi and relied upon case
law originating in the 9th Circuit. Orrand, in turn, relied upon Noe (failing to follow Grimaldi) and denied the
Employer the opportunity to put on evidence that the employee in question did not perform covered work. As noted
above, Grimaldi is Sixth Circuit precedent and, as such, Noe and Orrand hold no precedential value in this case.

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harm must be actual and imminent. See, Abney v. Amgen, Inc., 443 F.3d 540, 552 (6th Cir.

2006). Courts have regularly held the loss of medical benefits establishes “irreparable harm.”

For example, in Whelan v. Colgan, 602 F.2d 1060, 1062 (2nd Cir. 1979) the court concluded that

“the threatened termination of benefits such as medical coverage for workers and their families

obviously raises the specter of irreparable injury.” In Whelan, the Employer trustees blocked the

payment of medical and welfare benefits by the Fund to striking employees. Id at 1061. The

union designated trustees sought injunctive relief and the court subsequently granted the

requested injunction. Id.

       In United Steelworkers of America v. Textron, Inc., 826 F. Supp.2d 6, 8 (1st Cir. 1987) the

court upheld the District Court’s issuance of a preliminary injunction and concluded the loss of

insurance benefits constitutes substantial and irreparable harm. See also, Mamula v. Satralloy,

Inc., 578 F. Supp. 563, (S.D. Ohio 1983) (In granting employees’ motions for preliminary

injunction Court noted that persons on limited incomes who are not covered by health insurance

often forego needed medical attention and being denied health insurance which was promised

under the CBA results in harm that is not readily measurable, but clearly present); Schalk v.

Teledyne, Inc., 751 F.Supp. 1261 (W.D. Michigan 1990), aff’d 948 F.2d 1290 (6th Cir. 1991)

(court granted preliminary injunction requiring company to pay insurance premiums because the

uncertainty and lack of knowledge of how much money will be needed to cover medical

expenses constitutes irreparable harm); and Golden v. Kelsey Hayes Co., 845 F.Supp. 410 (E.D.

Mich. 1994), aff’d 73 F.3d 648 (6th Cir. 1996) (court granted preliminary injunction requiring

defendant to continue previous insurance plan where retirees presented the court with affidavits

detailing the hardship they would experience in the absence of a preliminary injunction). Bunn




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continues to remit the required monthly contributions, but the Fund continues to block the men’s

health and welfare benefits.

       C.      The Balance of Harm Strongly Favors the Plaintiffs

       The Fund is denying health insurance benefits to Plaintiffs even though Bunn continues

to remit the requisite contributions.     Rather than credit the individuals for whom the

contributions were made, the Fund is applying these contribution payments towards the findings

of the disputed audit. There is only one employee (Newlon) whose hours are in dispute and he is

suffering the consequences by not receiving much needed monthly pension premiums despite the

fact he has regained eligibility under the terms of the plan. Additionally, once Chad L. Karcher

terminated his employment with Bunn he regained his health insurance benefits and was

subsequently reimbursed for any out of pocket/personal expenses to pay for health insurance.

Clearly, the Fund is attempting to exert external pressures upon Bunn to pay the disputed amount

by unlawfully withholding insurance benefits to Bunn employees – a claim substantiated in the

Fund’s Memorandum in Opposition to Plaintiffs’ Motion for Temporary Restraining Order.

       The Fund maintains that the enforcement of its policy of applying employer payments to

the oldest outstanding fringe benefit contributions is “necessary to ensure payment of Bunn’s

delinquent fringe benefit contributions.” See, Fund’s Memorandum in Opposition, p. 6. More

importantly, the Fund admitted that Plaintiff Morgan’s loss of benefits is a result of the

enforcement of this policy. Id. Accordingly, the Fund continues to irreparably harm Bunn’s

current employees due to a dispute over contributions which the Fund is not entitled to receive.

Lastly, the Fund should be crediting the monthly payments towards the employees for which the

contributions are intended.    See, Operating Engineers Local 324 Health Care Plan v.

Dalessandro Contracting Group, LLC, 2012 U.S. Dist. LEXIS 32551, *20 (E.D. Mich. 2012)



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(The court concluded that the Fund’s “audit must calculate Defendant’s owed contributions on a

monthly basis and the audit must account for [Employer’s] timely payments made on behalf of

an employee in that given month”). The Fund will suffer no harm in reinstating the health

insurance benefits as it continues to receive monthly contributions for these employees.

       D.      The Public Interest Favors Granting a Temporary Restraining Order

       Plaintiffs have a contractual right to health insurance per the terms of CBA.          The

Plaintiffs have abided by those terms by working the requisite hours and remitting the necessary

monthly contributions in order to obtain and retain eligibility. Granting Plaintiffs the requested

injunction will deter this Fund and others from unlawfully withholding health insurance benefits

from persons who are otherwise eligible to receive them.

IV.    CONCLUSION

       For the reasons outlined above, Plaintiffs respectfully request that this Court grant the

preliminary injunction in its entirety.

Dated this 26th day of April, 2013.

                                             Respectfully submitted,

                                             /s/ Ronald L. Mason
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on April 26, 2013, I electronically filed the foregoing with the

clerk of Court using the CM/ECF system which will send notification of such filing to all

counsel registered to receive electronic notices.




                                                    /s/ Aaron Tulencik
                                                    Aaron Tulencik (0073049)




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